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 1
   Daniel J. Orlowsky                          James A. Morris, Esq. (CSBN 296852)
 2 ORLOWSKY LAW, LLC                           jmorris@jamlawyers.com
   7777 Bonhomme, Suite 1910                   Shane. A. Greenberg, Esq. (CSMN 210932)
 3 St. Louis, Missouri 63105                   sgreenberg@jamlawyers.com
   Phone: (314) 725-5151                       MORRIS LAW FIRM
 4 Fax; (314) 455-7375                         4111 W. Alameda Avenue, Suite 611
   dan@orlowskylaw.com                         Burbank, CA 91505
 5 (Pro Hac Vice)                              Tel: (747) 283-1144
                                               Fax: (747) 283-1143
 6 Adam M. Goffstein
   GOFFSTEIN LAW, LLC
 7 7777 Bonhomme, Suite 1910
   St. Louis, Missouri 63105
 8 Phone: (314) 725-5151
   Fax: (314) 455-7278
 9 adam@goffsteinlaw.com
   (Pro Hac Vice)
10
   Attorneys for Plaintiff
11
                               UNITED STATES DISTRICT COURT
12
                          NORTHERN DISTRICT OF CALIFORNIA
13
   BRIAN KUTZA and ANIL KUMAR URMIL          Case No. 3:18-cv-03534-RS
14 on behalf of themselves and all others
   similarly situated,                       FIRST AMENDED CLASS ACTION
15                                           COMPLAINT
                   Plaintiffs,
16
           v.                                JURY TRIAL DEMANDED
17
   WILLIAMS-SONOMA, INC.,
18
                   Defendant.
19
20
21
22
23
24
25
26
27
28

     FIRST AMENDED CLASS ACTIONCOMPAINT
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 1                                   CLASS ACTION COMPLAINT
 2          Plaintiffs Brian Kutza and Anil Kumar Urmil (“Plaintiffs”) bring this action on behalf of
 3
     themselves and all others similarly situated against Williams-Sonoma, Inc. (otherwise referred to
 4
     as “Defendant” or “Williams Sonoma”). Plaintiffs make the following allegations based upon
 5
     information and belief, except as to the allegations specifically pertaining to themselves, which are
 6
 7 based on personal knowledge.
 8                                           INTRODUCTION

 9          1.      This is a class action lawsuit against Defendant Williams-Sonoma, Inc. for selling
10 its household and personal care products as “natural” when, in fact, they contain unnatural and/or
11
     synthetic ingredients.
12
            2.      Founded in 1956, Williams-Sonoma, Inc. is an American publicly traded consumer
13
     retail company that is headquartered in San Francisco, California. Williams-Sonoma, Inc.
14
15 operates a portfolio of brands including Williams Sonoma, which sells upscale products for the
16 kitchen and home. Williams Sonoma’s products range from cookware to household and personal
17 care products that include soaps, lotions, cleaning essentials, and other home keeping products.
18          3.      Among other purportedly “natural” products, Defendant develops, manufactures,
19
     markets, and sells a variety of household and personal care products, including:
20
        •   Williams Sonoma Fleur de Sel Hand Soap
21
22      •   Williams Sonoma Fleur de Sel Dish Soap

23      •   Williams Sonoma Fleur de Sel All-Purpose Cleaner

24      •   Williams Sonoma Fleur de Sel Countertop Spray
25
        •   Williams Sonoma Fleur de Sel Hand Lotion
26
        •   Williams Sonoma Fleur de Sel Room Spray
27
        •   Williams Sonoma French Lavender Hand Soap
28 __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                1
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 1        •   Williams Sonoma French Lavender Dish Soap
 2        •   Williams Sonoma French Lavender All-Purpose Cleaner
 3
          •   Williams Sonoma French Lavender Countertop Spray
 4
          •   Williams Sonoma French Lavender Hand Lotion
 5
 6        •   Williams Sonoma French Lavender Room Spray

 7        •   Williams Sonoma Frosted Clove Hand Soap

 8        •   Williams Sonoma Frosted Clove Hand Lotion
 9
          •   Williams Sonoma Frosted Clove Dish Soap
10
          •   Williams Sonoma Frosted Clove Room Spray
11
          •   Williams Sonoma Lemongrass Ginger Hand Soap
12
13        •   Williams Sonoma Lemongrass Ginger Dish Soap

14        •   Williams Sonoma Lemongrass Ginger All-Purpose Cleaner
15
          •   Williams Sonoma Lemongrass Ginger Countertop Spray
16
          •   Williams Sonoma Lemongrass Ginger Hand Lotion
17
          •   Williams Sonoma Lemongrass Ginger Room Spray
18
19        •   Williams Sonoma Meyer Lemon Hand Soap

20        •   Williams Sonoma Meyer Lemon Dish Soap
21        •   Williams Sonoma Meyer Lemon All-Purpose Cleaner
22
          •   Williams Sonoma Meyer Lemon Countertop Spray
23
          •   Williams Sonoma Meyer Lemon Hand Lotion
24
25        •   Williams Sonoma Meyer Lemon Room Spray

26        •   Williams Sonoma Pink Grapefruit Hand Soap

27        •   Williams Sonoma Pink Grapefruit Dish Soap
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                  2
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 1        •   Williams Sonoma Pink Grapefruit All-Purpose Cleaner
 2        •   Williams Sonoma Pink Grapefruit Countertop Spray
 3
          •   Williams Sonoma Pink Grapefruit Hand Lotion
 4
          •   Williams Sonoma Pink Grapefruit Room Spray
 5
 6        •   Williams Sonoma Pumpkin Spice Hand Soap

 7        •   Williams Sonoma Pumpkin Spice Hand Lotion

 8        •   Williams Sonoma Pumpkin Spice Dish Soap
 9
          •   Williams Sonoma Spiced Chestnut Hand Soap
10
          •   Williams Sonoma Spiced Chestnut Hand Lotion
11
          •   Williams Sonoma Spiced Chestnut Dish Soap
12
13        •   Williams Sonoma Spiced Chestnut Room Spray

14        •   Williams Sonoma Sunny Orange Citrus Hand Soap
15
          •   Williams Sonoma Sunny Orange Citrus Dish Soap
16
          •   Williams Sonoma Sunny Orange Citrus Hand Lotion
17
          •   Williams Sonoma Sunny Orange Citrus Room Spray
18
19        •   Williams Sonoma White Gardenia Hand Soap

20        •   Williams Sonoma White Gardenia Dish Soap
21        •   Williams Sonoma White Gardenia All-Purpose Cleaner
22
          •   Williams Sonoma White Gardenia Countertop Spray
23
          •   Williams Sonoma White Gardenia Hand Lotion
24
25        •   Williams Sonoma White Gardenia Room Spray

26        •   Williams Sonoma Winter Berry Hand Soap

27        •   Williams Sonoma Winter Berry Hand Lotion
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                  3
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 1        •   Williams Sonoma Winter Berry Dish Soap
 2        •   Williams Sonoma Winter Berry Room Spray
 3
          •   Williams Sonoma Winter Forest Hand Soap
 4
          •   Williams Sonoma Winter Forest Hand Lotion
 5
 6        •   Williams Sonoma Winter Forest Dish Soap

 7        •   Williams Sonoma Winter Forest Room Spray

 8 (hereinafter the “Products”).
 9
              4.    This action seeks to remedy the unlawful, unfair, deceptive, and misleading
10
     business practices of Defendant with respect to the marketing and sale of its household and
11
     personal care products, which are sold throughout the State of California and throughout the
12
     country.
13
14            5.    Defendant’s marketing materials are replete with statements that the Products are

15 natural, naturally derived or plaint-based, and the labels of all of the Products state the products
16 are naturally derived.
17
              6.    Williams Sonoma’s website contains numerous claims that the Products “reflects
18
     our culinary roots with a bright, clean fragrance that blends into the kitchen naturally.” Williams
19
     Sonoma also claims that: “Our exclusive essential oil blends nourish your skin with plant-based
20
21 ingredients and contain no harmful parabens or chlorine.”
22            7.    Defendant falsely, misleadingly, and deceptively labels the Products as “natural”

23 and containing “Active Ingredients Derived from Natural Sources.” The Products’ ingredients are
24 not “derived from natural sources” because they contain unnatural and/or synthetic ingredients,
25
     such as phenoxyethanol, methylisothiazolinone, sodium lauryl sulfate, sodium laureth sulfate,
26
     and/or caprylic/capric triglyceride.
27
28
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     FIRST AMENDED CLASS ACTION COMPAINT                                                                  4
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 1          8.      Plaintiffs allege that the Products’ “natural” claims apply to all of the Products’
 2 ingredients and not just to the Products’ “active” ingredients. A reasonable consumer would likely
 3
     be deceived by these “natural” claims to believe that all of the ingredients in the Products are
 4
     “derived from natural sources.” The ingredient lists on the Products’ labels and Defendant’s
 5
     website do not differentiate between “active” and “inactive” ingredients. Moreover, the Products
 6
 7 contain numerous unnatural and/or synthetic “active” ingredients as well, such as citric acid,
 8 dimethicone, lauryl sulfate, potassium sorbate, sodium chloride, and sodium lauryl sulfate.
 9          9.      Phenoxyethanol is one of the ingredients used in numerous Williams Sonoma
10 Products. Phenoxyethanol is toxic by definition under federal law, based on animal testing
11
     demonstrating that the substance is lethal even in very small doses. Even short exposure could
12
     cause serious temporary or residual injury. It is toxic to the kidneys, the nervous system, and the
13
     liver. It is extremely hazardous in case of eye contact and very hazardous in case of skin contact
14
15 (defatting the skin and adversely affecting the central nervous system and peripheral nervous
16 system, causing headaches, tremors, and central nervous system depression). It is also very
17 hazardous in case of ingestion or inhalation. It degrades into substances that are even more toxic.
18 It is a Category 2 germ cell mutagen, meaning that it is suspected of mutating human cells in a
19
   way that can be transmitted to children conceived after exposure. Phenoxyethanol is an ethylene
20
   glycol ether, which is known to cause wasting of the testicles, reproductive changes, infertility,
21
   and changes to kidney function. Phenoxyethanol is also Category 2 carcinogen, meaning that it is
22
23 suspected to induce cancer or increase its incidence.
24          10.     Case studies indicate that repeated exposure to phenoxyethanol results in acute
25 neurotoxic effects, as well as chronic solvent-induced brain syndrome, constant irritability,
26
     impaired memory, depression, alcohol intolerance, episodes of tachycardia and dyspnea, and
27
     problems with balance and rash.
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                  5
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 1          11.     Plaintiffs purchased the Products in reliance on Defendant’s representations that
 2 these Products are “natural,” “plant-based” and contain “Active Ingredients Derived from Natural
 3
     Sources.” He would not have purchased the Products had he known that they contained unnatural
 4
     and/or synthetic ingredients.
 5
            12.     Plaintiffs and the Class reasonably believed Defendant’s false and misleading
 6
 7 representations. Defendant knew or reasonably should have known that its representations
 8 regarding the Products were false, deceptive, misleading, and unlawful under California law.
 9          13.     Plaintiffs and the Class Members paid a premium for the Products over comparable
10 products that did not purport to be “natural,” “plaint-based,” and contain “Active Ingredients
11
     Derived from Natural Sources.” Given that Plaintiffs and Class Members paid a premium for the
12
     Products based on Defendants’ representations that they are “natural,” “plant-based,” and contain
13
     “Active Ingredients Derived from Natural Sources,” Plaintiffs and Class Members suffered an
14
15 injury in the amount of the purchase price and/or the premium paid.
16          14.     Plaintiffs bring claims against Defendant individually and on behalf the Class

17 Members who purchased the Products during the applicable statute of limitations period (the
18 “Class Period”) for (1) violation of California’s Consumer Legal Remedies Act (“CLRA”), Civil
19
   Code §§ 1750, et. seq.; (2) violation of California’s False Advertising Law (“FAL”), Business &
20
   Professions Code § 17500 et seq.; (3) violation of California’s Unfair Competition Law (“UCL”),
21
   California Business & Professions Code §§ 17200, et seq.; (4) unjust enrichment; (5) negligent
22
23 misrepresentation; and (6) fraud.
24                                               PARTIES
25          15.     Plaintiff Brian Kutza is a California citizen who resides in Pasadena, California.
26
     During the class period alleged herein, Plaintiff Kutza purchased several Williams Sonoma
27
     Products on numerous occasions from a William Sonoma store in Los Angeles County. Plaintiff
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                 6
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 1 Kutza was specifically interested in purchasing natural household and personal care products.
 2 Plaintiff Kutza’s purchases include, without limitation, Williams Sonoma Meyer Lemon Hand
 3
     Lotion, Williams Sonoma Meyer Lemon Hand Soap, Williams Sonoma White Gardenia Dish
 4
     Soap, Williams Sonoma Fleur de Sel All-Purpose Cleaner, and Williams Sonoma Pink Grapefruit
 5
     Countertop Spray.
 6
 7          16.    Plaintiff Kutza purchased the Williams Sonoma Products because he saw the

 8 labeling, advertising, the Defendant’s website, and read the packaging, which represented that the
 9 Products are “natural” and contain “Active Ingredients Derived from Natural Sources.” Plaintiff
10 Kutza relied on Defendants’ false, misleading, and deceptive representations that the Products are
11
     “natural” and contain “Active Ingredients Derived from Natural Sources.” He understood this to
12
     mean that he was purchasing natural products that did not contain any unnatural and/or synthetic
13
     ingredients. Plaintiff Kutza would not have purchased the Products at all, or would have been
14
15 willing to pay a substantially reduced price for the Williams Sonoma Products, if he had known
16 that they contained unnatural and/or synthetic ingredients. Plaintiff Kutza would purchase the
17 products in the future if Defendant changed the composition of the Products so that they
18 conformed to their “natural” and “Active Ingredients Derived from Natural Sources” labeling, or if
19
   the labels were corrected and he could trust that they were correct.
20
           17.    Plaintiff Anil Kumar Urmil is a California citizen who resides in Alhambra,
21
   California. During the class period alleged herein, Plaintiff Kumar purchased several Williams
22
23 Sonoma Products on numerous occasions from a Williams Sonoma store in Los Angeles County.
24 Plaintiff Urmil was specifically interested in purchasing natural household and personal care
25 products. Plaintiff Urmil’s purchases include, without limitation, Williams Sonoma Meyer Lemon
26
     Hand Lotion, Williams Sonoma Meyer Lemon Hand Soap, and Williams Sonoma White Gardenia
27
     Dish Soap.
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                             7
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 1          18.     Plaintiff Urmil purchased the Williams Sonoma Products because he saw the
 2 labeling, advertising, the Defendant’s website, and read the packaging, which represented that the
 3
     Products’ are “natural” and contain “Active Ingredients Derived from Natural Sources.” Plaintiff
 4
     Urmil relied on Defendants’ false, misleading, and deceptive representations that the Products are
 5
     “natural” and contain “Active Ingredients Derived from Natural Sources.” He understood this to
 6
 7 mean that he was purchasing natural products that did not contain any unnatural and/or synthetic
 8 ingredients. Plaintiff Kumar would not have purchased the Products at all, or would not have paid
 9 the price he paid for the Products he purchased, if he had known that they contained unnatural
10 and/or synthetic ingredients. Plaintiff Urmil would purchase the products in the future if
11
     Defendant changed the composition of the Products so that they conformed to their “natural” and
12
     “Active Ingredients Derived from Natural Sources” labeling, or if the labels were corrected and he
13
     could trust that they were correct.
14
15          19.     Defendant, Williams-Sonoma, Inc. is a Delaware Corporation that has its principal

16 place of business located at 3250 Van Ness Ave., San Francisco, California 94109. Defendant
17 manufactures, markets, distributes, and sells the Williams Sonoma Products throughout the United
18 States at its retail stores as well as direct to consumer through channels such as catalogs and e-
19
   commerce. Williams-Sonoma, Inc. is publicly traded on the New York Stock Exchange and
20
   wholly owns and operates the Williams Sonoma brand.
21
                                        JURISDICTION AND VENUE
22
23          20.     This Court has subject matter jurisdiction over this civil action pursuant to 28

24 U.S.C. § 1331 (federal question).
25          21.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
26
     1332(d) because there are more than 100 class members and the aggregate amount in controversy
27
     exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one Class member is a
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                8
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 1 citizen of a state different from Defendant. This Court has supplemental jurisdiction over state
 2 law claims pursuant to 28 U.S.C. § 1367.
 3
            22.     This Court has personal jurisdiction over Defendant because Defendant conducts
 4
     substantial business within California such that Defendant has significant, continuous, and
 5
     pervasive contacts with the State of California. Additionally, Defendant’s principal place of
 6
 7 business is in this District.
 8          23.     Venue is proper in this District pursuant to 28 U.S.C. 1391 because Defendant does

 9 substantial business in this District, a substantial part of the events giving rise to Plaintiffs’ claims
10 took place within this District (e.g., the research, development, design, and marketing of Williams
11
     Sonoma Products), and Defendant’s principal place of business is in this District.
12
                                   COMMON FACTUAL ALLEGATIONS
13
            24.     Consumers have become increasingly concerned about the effects of synthetic and
14
15 chemical ingredients in food, cleaning products, bath and beauty products, and everyday
16 household products. Defendant has capitalized on consumers’ desire for purportedly “natural
17 products.” Indeed, consumers are willing to pay, and have paid, a premium for products branded
18 “natural” over products that contain synthetic ingredients. Reasonable consumers, including
19
   Plaintiffs and Class Members, value natural products for important reasons, including the belief
20
   that they are safer and healthier than alternative products that are not represented as natural.
21
           25.     The Federal Trade Commission (“FTC”) has warned marketers that the use of the
22
23 term “natural” may be deceptive:
24                  Marketers that are using terms such as natural must ensure that they
                    can substantiate whatever claims they are conveying to reasonable
25                  consumers. If reasonable consumers could interpret a natural claim
                    as representing that a product contains no artificial ingredients, then
26
                    the marketer must be able to substantiate that fact.1
27
28   1
     __75 Fed. Reg. 63552, 63586 (Oct. 15, 2010).

     FIRST AMENDED CLASS ACTION COMPAINT                                                                 9
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 1          26.     Likewise, the Food and Drug Administration (“FDA”) warns that any “natural”
 2 labeling on cosmetic products must be “truthful and not misleading.”2
 3
            27.     The Products are manufactured and marketed by Defendant and sold in its William
 4
     Sonoma stores nationwide as well as direct to consumer through channels such as catalogs and e-
 5
     commerce.
 6
 7          28.     Defendant’s marketing materials are replete with statements that the Products are

 8 natural, naturally derived, or plant-based, and the labels of all of the Products state the products
 9 are naturally derived.
10          29.     Defendant cultivates the Williams Sonoma image as a natural, non-synthetic, health
11
     and eco-friendly brand through its statements. Williams Sonoma’s website contains the following
12
     statement: “Completely natural ingredients leave the whole room with a fresh feeling and give you
13
     peace of mind too. There are no dangerous chemicals like ammonia or chlorine to worry about,
14
15 and no lauramide DEA or parabens either – only natural oils, essences and cleansing elements.
16 Because these soaps are biodegradable, they’re good for the environment too. None of our
17 products are tested on animals.”3
18          30.     Williams Sonoma’s website contains numerous claims that its hand soaps and hand
19
     lotions “reflects our culinary roots with a bright, clean fragrance that blends into the kitchen
20
     naturally.”
21
            31.     Williams Sonoma’s website also contains numerous claims that its dish soaps and
22
23 countertop sprays “reflects our culinary roots with a clean, simple scent that blends into the
24 kitchen naturally.”
25
26
   2
     FDA, Small Business & Homemade Cosmetics: Fact Sheet, available at
27 https://www.fda.gov/Cosmetics/ResourcesForYou/Industry/ucm388736.htm#7.
   3
28 https://www.williams-sonoma.com/shop/homekeeping/hand-dish-soaps-
   lotions/?cm_type=lnav&isx=0.0.5616
   __

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 1          32.    With respect to its room spray products, Williams Sonoma claims its “uplifting
 2 seasonal spray is made with plant-based ingredients to create a light, clean scent that gently and
 3
     evenly dissipates throughout the room.”
 4
            33.    The packaging for the Products misrepresents that the Products are “natural” and
 5
     contain “Active Ingredients Derived from Natural Sources.” Williams Sonoma makes this claim
 6
 7 on the packaging of all the Products:
 8
 9
10
11

12          34.    The labeling for the Products claims that they are “natural” and contain “Active

13 Ingredients Derived from Natural Sources.” However, each of these representations is false and
14 misleading. Consumers understand the terms “natural” and “derived from natural sources” to
15
     mean, “existing in nature and not made or caused by people; coming from nature” or “not having
16
     any extra substances or chemicals added; not containing anything artificial.” Under this
17
     definition, and the expectations of reasonable consumers, the Products cannot be considered
18
19 “natural” or “derived from natural sources” because they contain unnatural and/or synthetic
20 ingredients.
21          35.    Representing that a product is “natural” and contains “Active Ingredients Derived
22 from Natural Sources” is a statement of fact.
23
           36.    Consumers reasonably believe that a product labeled “natural” and “derived from
24
   natural sources” does not contain unnatural and/or synthetic ingredients.
25
           37.    Defendant’s representations that its Williams Sonoma Products contain only natural
26
27 ingredients are false, misleading, and deceptive because the Williams Sonoma Products contain
28 multiple ingredients that are unnatural and/or synthetic.
   __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                11
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 1          38.     Defendant’s Williams Sonoma Products contain the following non-exhaustive list
 2 of unnatural, synthetic, and/or chemical ingredients:
 3
         a. Acrylamide/Ammonium Acrylate Copolymer is a chemical substance that is a
 4
            copolymer of acrylamide and ammoniumacrylate monomers.
 5
         b. Alcohol Denat.: Denatured alcohol is a mixture of ethanol (ethyl alcohol) with a
 6
 7          denaturing agent. Ethanol is considered broadly toxic and linked to birth defects following

 8          excessive oral ingestion. Alcohol is a synthetic substance according to federal regulations.

 9          See 7. C.F.R. 205.603(a)(1).
10       c. Ammonium Lauryl Sulfate is a synthetic ammonium slat of sulfated ethoxylated lauryl
11
            alcohol.
12
         d. Benzisothiazolinone is a chemical substance that can cause irritation to the skin, eyes, or
13
            lungs. Exposure can lead to allergic contact dermatitis and skin sensitization. The
14
15          Scientific Committee on Consumer Safety (EU) has advised that it not be used in personal

16          care items due to lack of data as well as its potential for skin sensitization.4

17       e. Buteth-3 is a chemical substance that is a polyethylene glycol ether of butyl alcohol.
18       f. Caprylic/Capric Triglyceride is an artificial compound manufactured by hydrolyzing
19
            coconut oil, removing the free glycerin, and separating the medium chain length fatty acids
20
            by fractional distillation. The acids are then blended in the proper ratio and re- esterified
21
            with glycerin. Glycerin is a synthetic substance according to federal regulations. See 7.
22
23          C.F.R. 205.605(b).

24       g. Ceteareth-20 is a chemical ingredient. It is the polyethylene glycol either of cetearyl
25          alcohol; may contain potentially toxic impurities such as 1,4-dioxane. Ceteareth-20 is
26
27
     4
28    http://ec.europa.eu/health/scientific_committees/consumer_safety/docs/sccs_o_099.pdf
     __

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 1           considered a moderate to severe health hazard by cosmetics researchers and is restricted
 2           for use in cosmetics.
 3
          h. Cetearyl Alcohol is a mixture of cetyl and stearyl alcohols. Cetyl alcohol is classified as
 4
             synthetic by federal regulations. It is chemically synthesized by, for example: catalytic
 5
             hydrogenation of the triglycerides obtained from coconut oil or tallow, oxidation of a chain
 6
 7           growth product of ethylene oligomerized on a triethylaluminum catalyst, reaction of

 8           palmitoyl chloride and sodium borohydride, reaction of methylthiopalmitate plus Raney

 9           nickel. Stearyl alcohol is also produced synthetically.
10        i. Cetyl Alcohol is classified as synthetic by federal regulations. It is chemically synthesized
11
             by, for example: catalytic hydrogenation of the triglycerides obtained from coconut oil or
12
             tallow, oxidation of a chain growth product of ethylene oligomerized on a
13
             triethylaluminum catalyst, reaction of palmitoyl chloride and sodium borohydride, reaction
14
15           of methylthiopalmitate plus Raney nickel.

16        j. Citric Acid is a synthetic substance (2-hydroxy-propane-1, 2,3-tricarboxylic acid). While

17           the chemical’s name has the word “citric” in it, citric acid is no longer extracted from the
18           citrus fruit but industrially manufactured by fermenting certain genetically mutain strans of
19
             black mold fungus, Aspergillus niger. This is synthetically produced by feeding simple
20
             carbohydrates to Aspergillus niger mold and then processing the resulting fermented
21
             compound. Calcium hydroxide and sulfuric acid are often used in processing citric acid.
22
23           A technical evaluation report for the substance citric acid complied by the United States

24           Department of Agriculture, Agricultural Marketing Service (“USDA AMS”) for the
25           National Organic Program classified citric acid as “Synthetic Allowed”. See page 4,
26
             available at http://www.ams.usda.gov/AMSv1.0/getfile?dDocName=STELPRDC5067876.
27
             As one
28
     __

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 1           of the USDA AMS reviewers commented:
 2                          “[Citric acid] is a natural[ly] occurring substance that
                            commercially goes through numerous chemical processes to get to
 3
                            [its] final usable form. This processing would suggest that it be
 4                          classified as synthetic.” Id. at 3.

 5           The report further explains, under the “How Made” question, that citric acid is made –
 6                          “Traditionally by extraction from citrus juice, no longer
 7                          commercially available. It is now extracted by fermentation of a
                            carbohydrate substrate (often molasses) by citric acid bacteria,
 8                          Aspergillus niger (a mold) or Candida guilliermondii (a yeast).
                            Citric acid is recovered from the fermentation broth by a lime and
 9                          sulfuric acid process in which the citric acid is first precipitated as
                            a calcium salt and then reacidulated with sulfuric acid.” Id. at 4.
10
11        k. C12-C15 Alkyl Benzoate is a synthetic ingredient used as an emollient and texture

12           enhancing ingredient. It is composed of benzoic acid and long-chain (C12-15) alcohols.

13        l. Cocamide MEA is made by mixing fatty acids from coconut oil and monoethanolamine
14           (MEA), this ingredient may contain traces of cocamide diethanolamine (DEA), which,
15
             according to the FDA, may lead to the formation of carcinogenic nitrosamines. The
16
             Cosmetic Ingredient Review (CIR) Expert Panel has acknowledged that MEA can react
17
             with an aldehyde to form DEA, which then can be nitrosated.
18
19        m. Cocamidopropyl Betaine is a synthetic surfactant produced by reacting coconut oil fatty

20           acids with 3,3-dimethylaminopropylamine, yielding cocamidopropyl dimethylamine. It is

21           then reacted with sodium monochloroacetate to produce cocamidopropyl betaine. Trade
22           associations prohibit cocamidopropyl betaine from being included in products labeled as
23
             “natural.”
24
          n. Cocamidopropyl Hydroxysultaine is a synthetic ingredient, prohibited by the trade
25
             associations from household products and personal care products labeled as “natural.”
26
27
28
     __

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 1       o. Decyl Glucoside is a synthetic ingredient obtained by the condensation of decyl alcohol
 2          and glucose.5 Alcohols and glucose are synthetic substances according to federal
 3
            regulations. 7. C.F.R. 205.603(a)(1) and (a)(11). Or can be produced by reacting glucose
 4
            and n-butanol in the presence of a strong acid catalyst such as p-toluenesulfonic acid or
 5
            sulfuric acid, followed by the transglycosidation of the resulting butyl glucoside with fatty
 6
 7          alcohol to yield decyl glucoside. Alternatively, it can be produced by reacting highly

 8          refined glucose with fatty acids in the presence of an acid catalyst.

 9       p. Dimethicone is what chemists call a “silicon-based polymer” – “polymer” meaning it is a
10          large molecule made up of several smaller units bonded together. Simply put, dimethicone
11
            is a silicon oil that is man-made in the laboratory.
12
         q. Disodium Ethanoldiglycinate is a chelating agent, which is a chemical compound that
13
            reacts with metal ions to form a stable, water-soluble complex.
14
15       r. Disodium Laureth Sulfosuccinate is a chemical that is a disodium salt of an ethoxylated

16          lauryl alcohol bound to sulfosuccinic acid.

17       s. Ethanol, also called alcohol, is a chemical compound. Alcohol is a synthetic substance
18          according to federal regulations. See 7. C.F.R. 205.603(a)(1).
19
         t. Fragrance. Many of the compounds in Fragrance are carcinogenic or otherwise toxic.
20
            Fragrance on a label can indicate the presence of 4,000 separate ingredients. Most or all of
21
            them are synthetic. Clinical observation by medical doctors have shown that exposure to
22
23          fragrances can affect the central nervous system.

24       u. Glycerin is an emollient that, according to federal regulations, is a synthetic substance.
25          See 7. C.F.R. 205.603(a)(12). The glycerin used in Defendant’s products is not “natural”
26
27
     5
28    http://www.newdirections.com.au/articles/images/Decyl-Glucoside-and-Other-Alkyl-Glucosides-
     as-Used-in-Cosmetics.pdf
     __

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 1           but instead, upon information and belief, is manufactured through saponification, whereby
 2           fact molecules in vegetable oil are chemically altered using sodium hydroxide, a highly
 3
             toxic chemical.
 4
             A factory-produced texturizer that is created by complex processing. It is recognized by
 5
             federal regulations as synthetic. See 7 C.F.R. § 205.605(b). It is commonly used as a filler
 6
 7           and thickening agent. It requires multiple processing steps in an industrial environment to

 8           create Glycerin. Therefore, it cannot be described as “natural.” A technical evaluation

 9           report compiled by the USDA AMS Agricultural Analytics Division for the USDA
10           National Organic Program explains that Glycerin is “produced by a hydrolysis of fats and
11
             oils” and is listed in the USDA Organic Program’s National List as a “synthetic
12
             nonagricultural (nonorganic) substance.” The same report lists several methods of
13
             producing Glycerin, each of which involve numerous steps that include the use of high
14
15           temperatures and pressure and purification to get an end product.

16           https://www.ams.usda.gov/sites/default/files/media/Glycerin%20Petition%20to%20remov

17           e%20TR%202013.pdf:
18
                    Table 2 Processes for producing glycerin by hydrolysis of fats and oils
19
      Lemmens Fryer’s Process                           Oil or fat is subjected in an autoclave to the
20                                                      conjoint action of heat and pressure (about
21                                                      100 PSI) in the presence of an emulsifying
                                                        and accelerating agent, e.g. zinc oxide or
22                                                      hydroxide (sodium hydroxide can be
                                                        substituted) for about eight hours. The strong
23                                                      solution of glycerin formed is withdrawn and
                                                        replaced by a quantity of hot, clean and
24
                                                        preferably distilled water equal to about one
25                                                      third to one fourth of the weight of the original
                                                        charge of oil or fat and treatment continued
26                                                      for an additional four hours. The dilute
                                                        glycerin obtained from the latter part of the
27                                                      process is drawn off and used for the initial
                                                        treatment of the further charge of oil or fat.
28
     __

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 1    Budde and Robertson’s Process                     The oils or fats are heated and mechanically
                                                        agitated with water and sulphuric acid gas,
 2                                                      under pressure in a closed vessel or
                                                        autoclave. The advantage claimed for the
 3
                                                        process are that the contents of the vessel are
 4                                                      free from foreign matter introduced by
                                                        reagents and need no purification; that the
 5                                                      liberated glycerin is in the form of a pure and
                                                        concentrated solution; that no
 6                                                      permanent emulsion is formed and that the
                                                        fatty acids are not discolored.
 7    Ittner’s Process                                  Coconut oil is kept in an autoclave in the
 8                                                      presence of water at 70 atmospheres pressure
                                                        and 225-245oC temperature and split into
 9                                                      fatty acids and glycerin, both being soluble
                                                        under these conditions in water. The glycerin
10                                                      solution separates in the bottom of the
                                                        autoclave. The aqueous solution contains at
11                                                      the end of the splitting process more than 30
                                                        percent glycerin.
12    Continuous High Pressure Hydrolysis               In this process a constant flow of fat is
                                                        maintained flowing upward through an
13                                                      autoclave column tower against a downward
14                                                      counterflow of water at a pressure of 600 PSI
                                                        maintained at temperature of 480-495oF.
15                                                      Under these conditions, the fat is almost
                                                        completely miscible in water and the
16                                                      hydrolysis take place in a very short time.
                                                        The liberated fatty acids, washed free of
17
                                                        glycerin by the downward percolating water,
18                                                      leave the top of the column and pass through
                                                        a flash tank while the liberated glycerin
19                                                      dissolves in the downward flow of water and
                                                        is discharged from the bottom of the tower
20                                                      into the sweet-water storage tank.
21
22        v. Glyceryl Stearate is chemically synthesized by glycerolysis or by esterification of

23           glycerol and stearic acid. There is no chemical difference between glycerol and glycerin.
24           Both are names for the same chemical. Glycerin is a synthetic substance according to
25
             federal regulations. See 7 § C.F.R. 205.605(b).
26
          w. Green #5 is a synthetic dye produced from petroleum or coal tar sources.
27
          x. Hydrogenated Polyisobutene is a synthetic polymer used as a skin conditioning agent.
28
     __

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 1       y. Lauramine Oxide is a tertiary amine oxide. Amine oxides are chemical compounds.
 2       z. Laureth-7 is a polyethylene glycol-based surfactant and synthetic that may contain
 3
            potential toxic impurities such as 1, 4-dioxane.6 Laureth-7 is synonymous with
 4
            Ethoxylated Alcohol. See 40 C.F.R. § 721.643.
 5
         aa. Laureth-23 is a synthetic substance. It is a nonionic surfactant prepared from lauryl
 6
 7          alcohol and 23 moles of ethylene oxide. Laureth-23 contains an average of 23 repeating

 8          ethylene oxide units. Small amounts of 1,4-dioxane, a by-product of ethoxylation, may be

 9          found in Laureth-23.
10       bb. Lauryl Glucoside is a surfactant derived from genetically modified corn. It is produced by
11
            alcoholysis of glucose and lauryl alcohol under acidic conditions. Glucose and alcohol are
12
            synthetic substances according to federal regulations. See 7 § C.F.R. 205.603(a)(1) and
13
            (a)(11). Historically, lauryl alcohol was prepared solely from natural products, but is now
14
15          synthesized from ethylene. 7

16       cc. Methylisothiazolinone is a synthetic cosmetic preservative. It is a powerful biocide that

17          has been linked to brain and nerve cell damage. This synthetic biocide preservative is
18          produced by the controlled chlorination of dimethyl-dithiodipropionamide in solvent and
19
            then neutralized.
20
         dd. PEG-7 Glyceryl Cocoate. This synthetic polymer is based on PEG (polyethylene glycol)
21
            and fatty acids derived from coconut oil. Due to the presence of PEG, this ingredient may
22
23          contain potentially toxic manufacturing impurities such as 1,4-dioxane.

24       ee. PEG-40 Hydrogenated Castor Oil is a polyethylene glycol derivative of castor oil; may
25          be contaminated with potentially toxic impurities such as 1,4-dioxane.
26
27   6
    http://www.ewg.org/skindeep/ingredient/703425/LAURETH-7/#.WgzNz0xFyUk
     7
28  http://www.newdirections.com.au/articles/images/Decyl-Glucoside-and-Other-Alkyl-Glucosides-
   as-Used-in-Cosmetics.pdf
   __

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 1      ff. PEG-200 Hydrogenated Glyceryl Palmate is a chemical substance that is a polyethylene
 2          glycol derivative of hydrogenated palm glyceride. It has an average of 200 moles of
 3
            ethylene oxide.
 4
        gg. Phenoxyethanol. The Food and Drug Administration (“FDA”) has warned that
 5
            phenoxyethanol is dangerous. Phenoxyethanol is a synthetic substance and adjuvant. See
 6
 7          21 C.F.R. § 172.515.8 It is produced by reacting phenol with ethylene oxide (a known

 8          carcinogen) in the presence of a basic catalyst under pressure and heat. It is classified as

 9          synthetic by trade associations governing the use of the term “natural” on household and
10          personal care products.
11
        hh. Polyacrylamide is a synthetic polymer of acrylamide.
12
        ii. Polyisobutene is a synthetic polymer of isobutylene; used as a film-forming agent.
13
        jj. Polysorbate 20 is classified as synthetic by federal regulations and prohibited by trade
14
15          groups from being in products labeled as “natural.” It is a surfactant produced by reacting

16          sorbitol and its anhydrides with ethylene oxide.

17      kk. Potassium Sorbate is produced by reacting sorbic acid and potassium hydroxide. It is
18          classified as a chemical preservative under federal regulations
19
      ll.   Preservatives are synthetic substances.
20
      mm. Red #33 is a synthetic dye produced from petroleum or coal tar sources.
21
        nn. Sodium Benzoate is not found to occur naturally according to federal regulations. Instead,
22
23          it is chemically synthesized by reacting benzoic acid with sodium hydroxide, sodium

24          bicarbonate, or sodium carbonate.
25
26
   8
     The Federal Trade Commission, recognizing that many of these same ingredients are
27 unquestionably synthetic, has filed complaints against companies that have used these ingredients
28 promoted as natural. https://www.ftc.gov/news-events/press-releases/2016/04/four-companies-
   agree-stop-falsely-promoting-their-personal-care.
   __

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 1         oo. Sodium Benzotriazoyl Butylphenol Sulfonate is a synthetic ingredient. This UV light
 2              stabilization ingredient is part of a larger formulation and protects colors and other light-
 3
                sensitive ingredients from photolytic and/or photo-oxidative degradation and thus improve
 4
                the stability of formulations which are exposed to UV-A and UV-B light. Sodium
 5
                Benzotriazolyl Butylphenol Sulfonate is suspected of causing skin or sense organ toxicity.
 6
 7         pp. Sodium Carbonate is a toxic household chemical substance.

 8         qq. Sodium Chloride. A synthetic and hazardous chemical substance.9

 9         rr. Sodium Citrate is the sodium salt of citric acid synthesized by reacting sodium carbonate
10              with citric acid. It is a recognized synthetic chemical under federal regulations. See 7
11
                C.F.R. § 205.605(b). It is usually prepared by reacting sodium carbonate or sodium
12
                hydroxide with citric acid, or by reacting sodium sulfate with calcium citrate.
13
           ss. Sodium Coco-Sulfate is synthetic, produced by isolating C12-18 saturated fatty acids
14
15              from oils, and then sulfonating with chemicals such as sulfuric acid, sulfur trioxide, or

16              chlorosulfonic acid.

17         tt. Sodium Laureth Sulfate is a chemical derived from ethoxylated lauryl alcohol and used
18              as a surfactant; may be contaminated with potentially toxic manufacturing impurities such
19
                as 1,4-dioxane.
20
           uu. Sodium Lauryl Sulfate is a chemical and food additive as stated in C.F.R. § 172.822. It is
21
                an active ingredient prepared by sulfation of lauryl alcohol, followed by neutralization with
22
23              sodium carbonate.10

24        vv.   Sodium Lauroyl Sarcosinate is a synthetic skin conditioning agent.
25
26
27   9
    https://whatsinproducts.com/files/brands_pdf/1391295214.pdf
     10
28   https://www3.epa.gov/pesticides/chem_search/reg_actions/reregistration/red_G-52_1-Sep-
   93.pdf
   __

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 1        ww. Sodium Xylene Sulfonate is a chemical used as a hydrotrope, an organic compound that
 2            increases the ability of water to dissolve other molecules.
 3
          xx. Tetrasodium EDTA is produced synthetically for industrial purposes in the laboratory. It
 4
              is a preservative made from the known carcinogen formaldehyde and sodium cyanide. It is
 5
              also a penetration enhancer, meaning it breaks down the skin’s protective barrier, going
 6
 7            directly into the bloodstream.

 8        yy. Tetrasodium Glutamate Diacetate is a multi-purpose, clear, liquid chelating agent and

 9            preservative booster. As previously explained, a chelating agent is a chemical compound
10            that reacts with metal ions to form a stable, water-soluble complex.
11
      zz.     Tributyl Citrate is a chemical substance that is a triester of butyl alcohol and citric acid.
12
      aaa. Trideceth-9 is a chemical substance that is a polyethylene glycol ether of Tridecyl
13
              Alcohol.
14
15    bbb. Trisodium Ethylenediamine Disuccinate is a chelating agent which is a chemical

16            compound that reacts with metal ions to form a stable, water-soluble complex.

17    ccc. Yellow #5, also known as tartrazine or E102, is a synthetic dye produced from petroleum.
18            It is banned in Austria and Norway, and other European countries have issued warnings
19
              about their possible side effects.
20
          ddd. Yellow #6 is a synthetic dye produced from petroleum.
21
              39.    No product labeled “natural” or “Active Ingredients Derived from Natural Sources”
22
23 should contain any of these ingredients. And yet, the Williams Sonoma Products contain the
24 following, non-exhaustive, list of unnatural and/or synthetic ingredients:
25
                           Product                                     Synthetic Ingredient
26
27
     Williams Sonoma Fleur de Sel Hand Soap               Buteth-3
28
     __

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 1                                                    Citric Acid*
                                                      Decyl Glucoside
 2                                                    Glycerin
                                                      Cocoamidopropyl Betaine
 3                                                    Disodium Laureth Sulfosuccinate
                                                      Fragrance (Parfum)
 4                                                    Green #5
                                                      PEG-200 Hydrogenated Glyceryl Palmate
 5                                                    PEG-7 Glyceryl Cocoate
                                                      Potassium Sorbate*
 6                                                    Polysorbate 20
                                                      Red #33
 7                                                    Sodium Benzoate
                                                      Sodium Benzotriazolyl Butylphenol Sulfonate
 8                                                    Sodium Coco-Sulfate
                                                      Sodium Chloride*
 9                                                    Trisodium Ethylenediamine Disuccinate
                                                      Tributyl Citrate
10                                                    Yellow #5
         Williams Sonoma Fleur de Sel Dish Soap       Benzisothiazolinone
11                                                    Buteth-3
                                                      Citric Acid*
12                                                    Cocoamidopropyl Betaine
                                                      Fragrance (Parfum)
13                                                    Glycerin
                                                      Green #5
14                                                    Lauryl Glucoside
                                                      Lauramine Oxide
15                                                    Methisothiazolinone
                                                      Red #33
16                                                    Sodium Benzotriazolyl Butylphenol Sulfonate
                                                      Sodium Coco Sulfate
17                                                    Tetrasodium EDTA
                                                      Tributyl Citrate
18                                                    Yellow #5
         Williams Sonoma Fleur de Sel All-Purpose     Benzisothiazolinone
19       Cleaner                                      Buteth-3
                                                      Decyl Glucoside
20                                                    Disodium Ethanoldiglycinate
                                                      Fragrance
21                                                    Glycerin
                                                      Green #5
22                                                    Methylisothiazolinone
                                                      Polysorbate 20
23                                                    Red #33
                                                      Sodium Benzotriazolyl Butylphenol Sulfonate
24                                                    Sodium Citrate
                                                      Tributyl Citrate
25
26   *
     Denotes Active Ingredient. Again, Plaintiffs allege that the Products’ “natural” claims apply to
   all of the Products’ ingredients and not just to the Products’ “active” ingredients. A reasonable
27 consumer would likely be deceived by these “natural” claims to believe that all of the ingredients
28 in the Products are “derived from natural sources.” The ingredient lists on the Products’ labels
   and
   __ Defendant’s website do not differentiate between “active” and “inactive” ingredients.

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 1                                              Yellow #5
     Williams Sonoma Fleur de Sel Countertop    Benzisothiazolinone
 2   Spray                                      Citric Acid*
                                                Fragrance (Parfum)
 3                                              Glycerin
                                                Green #5
 4                                              Laureth-23
                                                Methylisothiazolinone
 5                                              Red #33
                                                Sodium Carbonate
 6                                              Yellow #5
     Williams Sonoma Fleur de Sel Hand Lotion   Acrylamide/Ammonium Acrylate Copolymer
 7                                              C12-C15 Alkyl Benzoate
                                                Caprylic/Capric Triglyceride
 8                                              Ceteareth-20
                                                Cetearyl Alcohol
 9                                              Dimethicone*
                                                Fragrance (Parfum)
10                                              Glycerin
                                                Glyceryl Strearate
11                                              Hydrogenated Polyisobutene
12   Williams Sonoma Fleur de Sel Room Spray    Alcohol Denat.
                                                Fragrance (Parfum)
13                                              Peg-40 Hydrogenated Castor Oil
                                                Trideceth-9
14   Williams Sonoma French Lavender Hand       Buteth-3
     Soap                                       Citric Acid*
15                                              Cocamidopropyl Betaine
                                                Disodium Laureth Sulfosuccinate
16                                              Fragrance
                                                Glycerin
17                                              Green #5
                                                Peg-200 Hydrogenated Glyceryl Palmate
18                                              Peg-7 Glyceryl Cocoate
                                                Potassium Sorbate*
19                                              Red #33
                                                Sodium Benzoate
20                                              Sodium Benzotriazoly Butylphenol Sulfonate
                                                Sodium Chloride*
21                                              Sodium Laureth Sulfate
                                                Tetrasodium Edta
22                                              Tributyl Citrate
     Williams Sonoma French Lavender Dish       Ammonium Lauryl Sulfate
23   Soap                                       Benzisothiazolinone
                                                Buteth-3
24                                              Cocamide MEA
                                                Cocamidopropyl Betaine
25                                              Fragrance
                                                Glycerin
26                                              Green 5
                                                Methylisothiazolinone
27                                              Red 33
                                                Sodium Benzotriazolyl Butylphenol Sulfonate
28                                              Sodium Xylene Sulfonate
     __                                         Tetrasodium EDTA

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 1                                             Tributyl Citrate
     Williams Sonoma French Lavender All-      Benzisothiazolinone
 2   Purpose Cleaner                           Buteth-3
                                               Decyl Glucoside
 3                                             Disodium Ethanoldiglycinate
                                               Fragrance
 4                                             Glycerin
                                               Green 5
 5                                             Methylisothiazolinone
                                               Polysorbate 20
 6                                             Red 33
                                               Sodium Benzotriazolyl Butylphenol Sulfonate
 7                                             Sodium Citrate
                                               Tributyl Citrate
 8   Williams Sonoma French Lavender           Benzisothiazolinone
     Countertop Spray                          Buteth-3
 9                                             Citric Acid*
                                               Decyl Glucoside
10                                             Disodium Ethanoldiglycinate
                                               Fragrance
11                                             Glycerin
                                               Green 5
12                                             Methylisothiazolinone
                                               Polysorbate 20
13                                             Red 33
                                               Sodium Benzotriazolyl Butylphenol Sulfonate
14                                             Sodium Citrate
                                               Tributyl Citrate
15
     Williams Sonoma French Lavender Hand      Ammonium Acrylate/Acrylamide Copolymer
16   Lotion                                    C12-C15 Alkyl Benzoate
                                               Caprylic/Capric Triglyceride
17                                             Ceteareth-20
                                               Cetearyl Alcohol
18                                             Cetyl Alcohol
                                               Dimethicone*
19                                             Fragrance
                                               Glycerin
20                                             Glyceryl Stearate
                                               Green #5
21                                             Hydrogenated Polyisobutene
                                               Laureth-7
22                                             Phenoxyethanol
                                               Polyacrylamide
23                                             Potassium Sorbate*
                                               Red #33
24                                             Sodium Benzoate
     Williams Sonoma French Lavender Room      Alcohol Denat.
25   Spray                                     Fragrance (Parfum)
                                               Peg-40 Hydrogenated Castor Oil
26                                             Trideceth-9
     Williams Sonoma Frosted Clove Hand Soap   Citric Acid*
27                                             Cocamidopropyl Hydroxysultaine
                                               Fragrance (Parfum)
28                                             Glycerin
     __                                        Potassium Sorbate*

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 1                                               Sodium Benzoate
                                                 Sodium Chloride*
 2                                               Tetrasodium Glutamate Diacetate
     Williams Sonoma Frosted Clove Hand Lotion   Acrylamide/Ammonium Acrylate Copolymer
 3                                               C12-C15 Alkyl Benzoate
                                                 Caprylic/Capric Triglyceride
 4                                               Cetearyl Alcohol
                                                 Cetyl Alcohol
 5                                               Dimethicone*
                                                 Fragrance (Parfum)
 6                                               Glyceryl Stearate
                                                 Hydrogenated Polyisobutene
 7                                               Phenoxyethanol
                                                 Polysorbate 20
 8                                               Potassium Sorbate*
                                                 Sodium Benzoate
 9                                               Tetrasodium Glutamate Diacetate
     Williams Sonoma Frosted Clove Dish Soap     Benzisothiazolinone
10                                               Citric Acid*
                                                 Fragrance (Parfum)
11                                               Glycerin
                                                 Lauramine Oxide
12                                               Lauryl Glucoside
                                                 Methylisothiazolinone
13                                               Polysorbate 20
                                                 Sodium Chloride*
14                                               Sodium Lauryl Sulfate*
                                                 Tetrasodium Glutamate Diacetate
15
     Williams Sonoma Frosted Clove Room Spray    Alcohol Denat.
16                                               Fragrance (Parfum)
                                                 Peg-40 Hydrogenated Castor Oil
17                                               Trideceth-9
     Williams Sonoma Lemongrass Ginger Hand      Citric Acid*
18   Soap                                        Fragrance
                                                 Glycerin
19                                               Green #5
                                                 Potassium Sorbate*
20                                               Red #33
                                                 Sodium Benzoate
21                                               Sodium Chloride*
                                                 Sodium Coco Sulfate,
22                                               Coco/Sunfloweramidopropyl Betaine
                                                 Sodium Cocoamphodiacetate Cocoyl Proline
23                                               Trisodium Ethylenediamine Disuccinate
                                                 Yellow #5
24   Williams Sonoma Lemongrass Ginger Dish      Benzisothiazolinone
     Soap                                        Citric Acid*
25                                               Cocamidopropyl Betaine
                                                 Fragrance
26                                               Green #5
                                                 Lauramine Oxide
27                                               Lauryl Glucoside
                                                 Methylisothiazolinone
28                                               Red #33
     __                                          Sodium Coco Sulfate

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 1                                            Sodium Lauroyl Sarcosinate
                                              Tetrasodium EDTA
 2                                            Yellow #5
     Williams Sonoma Lemongrass Ginger All-   Benzisothiazolinone
 3   Purpose Cleaner                          Decyl Glucoside
                                              Disodium Ethanoldiglycinate
 4                                            Fragrance
                                              Glycerin
 5                                            Green #5
                                              Methylisothiazolinone
 6                                            Polysorbate 20
                                              Red #33
 7                                            Sodium Citrate
                                              Yellow #5
 8   Williams Sonoma Lemongrass Ginger        Benzothiazolinone
     Countertop Spray                         Citric Acid*
 9                                            Decyl Glucoside
                                              Disodium Ethanoldiglycinate
10                                            Glycerin
                                              Green #5
11                                            Methylisothiazolinone
                                              Red #33
12                                            Sodium Citrate, Fragrance
                                              Yellow #5
13
     Williams Sonoma Lemongrass Ginger Hand   Ammonium Acrylate/Acrylamide Copolymer
14   Lotion                                   C12-C15 Alkyl Benzoate
                                              Caprylic/Capric Triglyceride
15                                            Ceteareth-20
                                              Cetearyl Alcohol
16                                            Cetyl Alcohol
                                              Dimethicone*
17                                            Fragrance
                                              Glycerin
18                                            Glyceryl Stearate
                                              Green #5
19                                            Hydrogenated Polyisobutene
                                              Laureth-7
20                                            Phenoxyethanol
                                              Polyacrylamide
21                                            Potassium Sorbate*
                                              Sodium Benzoate
22                                            Yellow #5
     Williams Sonoma Lemongrass Ginger Room   Alcohol Denat.
23   Spray                                    Fragrance (Parfum)
                                              Peg-40 Hydrogenated Castor Oil
24                                            Trideceth-9
     Williams Sonoma Meyer Lemon Hand Soap    Buteth-3
25                                            Citric Acid*
                                              Cocamidopropyl Betaine
26                                            Disodium Laureth Sulfosuccinate
                                              Fragrance
27                                            Glycerin
                                              PEG-200 Hydrogenated Glyceryl Palmate
28                                            PEG-7 Glyceryl Cocoate
     __                                       Potassium Sorbate*

     FIRST AMENDED CLASS ACTION COMPAINT                                               26
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 1                                            Sodium Benzoate
                                              Sodium Benzotriazoyl Butylphenol Sulfonate
 2                                            Sodium Chloride*
                                              Sodium Laureth Sulfate
 3                                            Tetrasodium EDTA
                                              Tributyl Citrate
 4                                            Yellow #5
                                              Yellow #6
 5    Williams Sonoma Meyer Lemon Dish Soap   Ammonium Lauryl Sulfate
                                              Benzisothiazolinone
 6                                            Cocamide MEA
                                              Cocamidopropyl Betaine
 7                                            Fragrance, Cocamidopropyl Betaine
                                              Glycerin
 8                                            Methylisothiazolinone
                                              Sodium Xylene Sulfonate
 9                                            Tetrasodium Edta
                                              Yellow #5
10                                            Yellow #6
      Williams Sonoma Meyer Lemon All-Purpose Benzisothiazolinone
11    Cleaner                                 Buteth-3
                                              Decyl Glucoside
12                                            Disodium Ethanoldiglycinate
                                              Fragrance
13                                            Glycerin
                                              Methylisothiazolinone
14                                            Polysorbate 20
                                              Sodium Benzotriazolyl Butylphenol Sulfonate
15                                            Sodium Citrate
                                              Tributyl Citrate
16                                            Yellow #5
                                              Yellow #6
17
      Williams Sonoma Meyer Lemon Countertop  Benzisothiazolinone
18    Spray                                   Buteth-3
                                              Citric Acid*
19                                            Decyl Glucoside
                                              Disodium Ethanoldiglycinate
20                                            Fragrance
                                              Glycerin
21                                            Methylisothiazolinone
                                              Polysorbate 20
22                                            Sodium Benzotriazolyl Butylphenol Sulfonate
                                              Sodium Citrate
23                                            Tributyl Citrate
                                              Yellow #5
24                                            Yellow #6
      Williams Sonoma Meyer Lemon Hand Lotion Caprylic/Capric Triglyceride
25                                            C12-C15 Alkyl Benzoate
                                              Hydrogenated Polyisobutene
26                                            Glyceryl Stearate
                                              Cetearyl Alcohol
27                                            Glycerin
                                              Ceteareth-20
28                                            Dimethicone*
     __                                       Fragrance

     FIRST AMENDED CLASS ACTION COMPAINT                                                27
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 1                                               Polyacrylamide
                                                 Ammonium Acrylate/Acrylamide Copolymer
 2                                               Cetyl Alcohol
                                                 Laureth-7
 3                                               Sodium Benzoate
                                                 Potassium Sorbate*
 4                                               Phenoxyethanol
                                                 Yellow #5
 5                                               Yellow #6
     Williams Sonoma Meyer Lemon Room Spray      Alcohol Denat.
 6                                               Fragrance (Parfum)
                                                 Peg-40 Hydrogenated Castor Oil
 7                                               Trideceth-9
     Williams Sonoma Pink Grapefruit Hand Soap   Buteth-3
 8                                               Citric Acid*
                                                 Cocamidopropyl Betaine
 9                                               Disodium Laureth Sulfosuccinate
                                                 Fragrance
10                                               Glycerin
                                                 Glyceryl Cocoate
11                                               PEG-200 Hydrogenated Glyceryl Palmate
                                                 PEG-7
12                                               Potassium Sorbate*
                                                 Red #33
13                                               Sodium Benzoate
                                                 Sodium Benzotriazoly Butylphenol Sulfonate
14                                               Sodium Chloride*
                                                 Sodium Laureth Sulfate
15                                               Tetrasodium EDTA
                                                 Tributyl Citrate
16                                               Yellow #5
17   Williams Sonoma Pink Grapefruit Dish Soap   Ammonium Lauryl Sulfate
                                                 Benzisothiazolinone
18                                               Buteth-3
                                                 Cocamidopropyl Betaine Cocamide MEA
19                                               Fragrance
                                                 Glycerin
20                                               Methylisothiazolinone
                                                 Red #33
21                                               Sodium Benzotriazolyl Butylphenol Sulfonate
                                                 Sodium Xylene Sulfonate
22                                               Tetrasodium Edta
                                                 Tributyl Citrate
23   Williams Sonoma Pink Grapefruit All-        Benzisothiazolinone
     Purpose Cleaner                             Buteth-3
24                                               Decyl Glucoside
                                                 Disodium Ethanoldiglycinate
25                                               Fragrance
                                                 Glycerin
26                                               Methylisothiazolinone
                                                 Polysorbate 20
27                                               Red #33
                                                 Sodium Benzotriazolyl Butylphenol Sulfonate
28                                               Sodium Citrate
     __                                          Tributyl Citrate

     FIRST AMENDED CLASS ACTION COMPAINT                                                   28
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 1                                               Yellow #5
      Williams Sonoma Pink Grapefruit Countertop Benzisothiazolinone
 2    Spray                                      Buteth-3
                                                 Citric Acid*
 3                                               Decyl Glucoside
                                                 Disodium Ethanoldiglycinate
 4                                               Fragrance
                                                 Glycerin, Tributyl Citrate
 5                                               Methylisothiazolinone
                                                 Red #33
 6                                               Sodium Benzotriazolyl Butylphenol Sulfonate
                                                 Sodium Citrate
 7                                               Yellow #5
      Williams Sonoma Pink Grapefruit Hand       Ammonium Acrylate/Acrylamide Copolymer
 8    Lotion                                     C12-C15 Alkyl Benzoate
                                                 Caprylic/Capric Triglyceride
 9                                               Ceteareth-20
                                                 Cetearyl Alcohol
10                                               Cetyl Alcohol
                                                 Dimethicone*
11                                               Fragrance
                                                 Glycerin
12                                               Glyceryl Stearate
                                                 Hydrogenated Polyisobutene
13                                               Laureth-7
                                                 Phenoxyethanol
14                                               Polyacrylamide
                                                 Potassium Sorbate*
15                                               Red #33
                                                 Sodium Benzoate
16                                               Yellow #5
17    Williams Sonoma Pink Grapefruit Room       Alcohol Denat.
      Spray                                      Fragrance (Parfum)
18                                               Peg-40 Hydrogenated Castor Oil
                                                 Trideceth-9
19    Williams Sonoma Pumpkin Spice Hand Soap Citric Acid*
                                                 Cocamidopropyl Hydroxysultaine
20                                               Fragrance
                                                 Glycerin
21                                               Potassium Sorbate*
                                                 Sodium Benzoate
22                                               Sodium Chloride*
                                                 Tetrasodium Glutamate Diacetate
23    Williams Sonoma Pumpkin Spice Hand         Acrylamide/Ammonium Acrylate Copolymer
      Lotion                                     C12-C15 Alkyl Benzoate
24                                               Caprylic/Capric Triglyceride
                                                 Ceteareth-20
25                                               Cetearyl Alcohol
                                                 Cetyl Alcohol
26                                               Dimethicone*
                                                 Fragrance
27                                               Glycerin
                                                 Glyceryl Stearate
28                                               Hydrogenated Polyisobutene
     __                                          Phenoxyethanol

     FIRST AMENDED CLASS ACTION COMPAINT                                                   29
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 1                                                Polysorbate 20
                                                  Potassium Sorbate*
 2                                                Sodium Benzoate
                                                  Tetrasodium Glutamate Diacetate
 3    Williams Sonoma Pumpkin Spice Dish Soap     Benzisothiazolinone
                                                  Citric Acid*
 4                                                Fragrance
                                                  Glycerin
 5                                                Lauramine Oxide
                                                  Lauryl Glucoside
 6                                                Methylisothiazolinone
                                                  Polysorbate 20
 7                                                Sodium Chloride*
                                                  Sodium Lauryl Sulfate*
 8                                                Tetrasodium Glutamate Diacetate
      Williams Sonoma Spiced Chestnut Hand        Buteth-3
 9    Soap                                        Citric Acid*
                                                  Cocamidopropyl Betaine
10                                                Disodium Laureth Sulfosuccinate
                                                  Fragrance
11                                                Glycerin
                                                  Peg-200 Hydrogenated Glyceryl Palmate
12                                                Peg-7 Glyceryl Cocoate
                                                  Potassium Sorbate*
13                                                Sodium Benzoate
                                                  Sodium Benzotriazoyl Butylphenol Sulfonate
14                                                Sodium Chloride*
                                                  Sodium Laureth Sulfate
15                                                Tetrasodium Edta
                                                  Tributyl Citrate
16    Williams Sonoma Spiced Chestnut Hand        Ammonium Acrylate/Acrylamide Copolymer
      Lotion                                      C12-C15 Alkyl Benzoate
17                                                Caprylic/Capric Triglyceride
                                                  Ceteareth-20
18                                                Cetearyl Alcohol
                                                  Cetyl Alcohol
19                                                Dimethicone*
                                                  Fragrance
20                                                Glycerin
                                                  Glyceryl Stearate
21                                                Hydrogenated Polyisobutene
                                                  Laureth-7
22                                                Phenoxyethanol
                                                  Polyacrylamide
23                                                Potassium Sorbate*
                                                  Sodium Benzoate
24
      Williams Sonoma Spiced Chestnut Dish Soap   Ethanol
25                                                Fragrance
                                                  Preservative (Non-Paraben 0.20%).
26    Williams Sonoma Spiced Chestnut Room        Alcohol Denat.
      Spray                                       Fragrance (Parfum)
27                                                Peg-40 Hydrogenated Castor Oil
                                                  Trideceth-9
28    Williams Sonoma Sunny Orange Citrus Hand    Citric Acid*
      Soap
     __                                           Cocamidopropyl Hydroxysultaine

     FIRST AMENDED CLASS ACTION COMPAINT                                                       30
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 1                                             Glycerin
                                               Fragrance (Parfum)
 2                                             Potassium Sorbate*
                                               Sodium Benzoate
 3                                             Sodium Chloride*
                                               Tetrasodium Glutamate Diacetate
 4    Williams Sonoma Sunny Orange Citrus Dish Benzisothiazolinone
      Soap                                     Citric Acid*
 5                                             Fragrance (Parfum)
                                               Glycerin
 6                                             Lauramine Oxide
                                               Lauryl Glucoside
 7                                             Methylisothiazolinone
                                               Polysorbate 20
 8                                             Sodium Chloride*
                                               Sodium Lauryl Sulfate*
 9                                             Tetrasodium Glutamate Diacetate
      Williams Sonoma Sunny Orange Citrus Hand Acrylamide/Ammonium Acrylate Copolymer
10    Lotion                                   C12-C15 Alkyl Benzoate
                                               Caprylic/Capric Triglyceride
11                                             Ceteareth-20
                                               Cetearyl Alcohol
12                                             Cetyl Alcohol
                                               Dimethicone*
13                                             Fragrance (Parfum)
                                               Glycerin
14                                             Glyceryl Stearate
                                               Phenoxyethanol
15                                             Polysorbate 20
                                               Potassium Sorbate*
16                                             Sodium Benzoate
                                               Tetrasodium Glutamate Diacetate
17
      Williams Sonoma Sunny Orange Citrus      Alcohol Denat.
18    Room Spray                               Benzisothiazolinone
                                               Citric Acid*
19                                             Fragrance (Parfum)
                                               Methylisothiazolinone
20                                             Peg-40 Hydrogenated Castor Oil
                                               Sodium Citrate
21                                             Trideceth-9
      Williams Sonoma White Gardenia Hand Soap Citric Acid*
22                                             Cocamidopropyl Hydroxysultaine
                                               Potassium Sorbate*
23                                             Sodium Benzoate
                                               Sodium Chloride*
24                                             Tetrasodium Glutamate Diacetate
      Williams Sonoma White Gardenia Dish Soap Benzisothiazolinone
25                                             Citric Acid*
                                               Fragrance (Parfum)
26                                             Glycerin
                                               Lauramine Oxide
27                                             Lauryl Glucoside
                                               Methylisothiazolinone
28                                             Polysorbate 20
     __                                        Sodium Chloride*

     FIRST AMENDED CLASS ACTION COMPAINT                                                31
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 1                                              Sodium Lauryl Sulfate*
                                                Tetrasodium Glutamate Diacetate
 2    Williams Sonoma White Gardenia All-       Benzisothiazolinone
      Purpose Cleaner                           Decyl Glucoside
 3                                              Fragrance
                                                Methylisothiazolinone
 4                                              Polysorbate 20
                                                Sodium Citrate
 5                                              Tetrasodium Glutamate Diacetate
      Williams Sonoma White Gardenia Countertop Benzisothiazolinone
 6    Spray                                     Citric Acid*
                                                Decyl Glucoside
 7                                              Fragrance
                                                Methylisothiazolinone
 8                                              Sodium Citrate
                                                Tetrasodium Glutamate Diacetate
 9
      Williams Sonoma White Gardenia Hand       Acrylamide/Ammonium Acrylate Copolymer
10    Lotion                                    C12-C15 Alkyl Benzoate
                                                Caprylic/Capric Triglyceride
11                                              Ceteareth-20
                                                Cetearyl Alcohol
12                                              Cetyl Alcohol
                                                Dimethicone*
13                                              Fragrance (Parfum)
                                                Glycerin
14                                              Glyceryl Stearate
                                                Phenoxyethanol
15                                              Polysorbate 20
                                                Potassium Sorbate*
16                                              Sodium Benzoate
                                                Tetrasodium Glutamate Diacetate
17    Williams Sonoma White Gardenia Room       Alcohol Denat.
      Spray                                     Fragrance (Parfum)
18                                              Peg-40 Hydrogenated Castor Oil
                                                Trideceth-9
19    Williams Sonoma Winter Forest Hand Soap   Citric Acid*
                                                Cocamidopropyl Betaine
20                                              Disodium Laureth Sulfosuccinate
                                                Fragrance
21                                              Glycerin
                                                Peg-200 Hydrogenated Glyceryl Palmate
22                                              Peg-7 Glyceryl Cocoate
                                                Potassium Sorbate*
23                                              Sodium Benzoate
                                                Sodium Chloride*
24                                              Sodium Laureth Sulfate
                                                Tetrasodium EDTA
25    Williams Sonoma Winter Forest Hand Lotion Ammonium Acrylate/Acrylamide Copolymer
                                                C12-C15 Alkyl Benzoate
26                                              Caprylic/Capric Triglyceride
                                                Ceteareth-20
27                                              Cetearyl Alcohol
                                                Cetyl Alcohol
28                                              Dimethicone*
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                 32
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 1                                              Fragrance
                                                Glycerin
 2                                              Glyceryl Stearate
                                                Hydrogenated Polyisobutene
 3                                              Laureth-7
                                                Phenoxyethanol
 4                                              Polyacrylamide
                                                Potassium Sorbate*
 5                                              Sodium Benzoate
     Williams Sonoma Winter Forest Dish Soap    Benzisothiazolinone
 6                                              Citric Acid*
                                                Decyl Glucoside
 7                                              Disodium Ethanoldiglycinate
                                                Fragrance/Parfum
 8                                              Glycerin
                                                Methylisothiazolinone
 9                                              Sodium Citrate
     Williams Sonoma Winter Forest Room Spray   Alcohol Denat.
10                                              Fragrance (Parfum)
                                                Peg-40 Hydrogenated Castor Oil
11                                              Trideceth-9
12   Williams Sonoma Winter Berry Hand Soap     Citric Acid*
                                                Cocamidopropyl Hydroxysultaine
13                                              Fragrance (Parfum)
                                                Glycerin
14                                              Potassium Sorbate*
                                                Sodium Benzoate
15                                              Sodium Chloride*
                                                Tetrasodium Glutamate Diacetate
16   Williams Sonoma Winter Berry Hand Lotion   Acrylamide/Ammonium Acrylate Copolymer
                                                C12-C15 Alkyl Benzoate
17                                              Caprylic/Capric Triglyceride
                                                Ceteareth-20
18                                              Cetearyl Alcohol
                                                Cetyl Alcohol
19                                              Dimethicone*
                                                Fragrance (Parfum)
20                                              Glycerin
                                                Glyceryl Stearate
21                                              Phenoxyethanol
                                                Polysorbate 20
22                                              Potassium Sorbate*
                                                Sodium Benzoate
23                                              Tetrasodium Glutamate Diacetate
     Williams Sonoma Winter Berry Dish Soap     Benzisothiazolinone
24                                              Citric Acid*
                                                Fragrance (Parfum)
25                                              Glycerin
                                                Lauramine Oxide
26                                              Lauryl Glucoside
                                                Methylisothiazolinone
27                                              Polysorbate 20
                                                Sodium Chloride*
28                                              Sodium Lauryl Sulfate*
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                 33
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 1                                                     Tetrasodium Glutamate Diacetate
      Williams Sonoma Winter Berry Room Spray          Alcohol Denat.
 2                                                     Fragrance (Parfum)
                                                       Peg-40 Hydrogenated Castor Oil
 3                                                     Trideceth-9
 4           40.    Given the significant presence of these unnatural and/or synthetic ingredients in the
 5
     Products, Defendants’ representations that they are “natural” and contain “Active Ingredients
 6
     Derived from Natural Sources” are deceptive and misleading.
 7
             41.    The term “synthetic” is also defined by federal statute as “a substance that is
 8
 9 formulated or manufactured by a chemical process or by a process that chemically changes a
10 substance extracted from naturally occurring plant, animal, or mineral sources, except that such
11 term shall not apply to substances created by naturally occurring biological processes.” 7 U.S.C. §

12 6502(21).
13
             42.    Surveys and other market research, including expert testimony Plaintiffs intend to
14
     introduce, will demonstrate that the terms “Active Ingredients Derived from Natural Sources” are
15
     misleading to a reasonable consumer because the reasonable consumer believes that the terms
16
17 “Active Ingredients Derived from Natural Sources” when used to describe a good such as the
18 Products, means that it is free of synthetic ingredients.
19           43.    Consumers lack the meaningful ability to test or independently ascertain or verify
20
     whether a product is natural, especially at the point of sale. Consumers would not know the true
21
     nature of the ingredients merely by reading the ingredients label.
22
             44.    Discovering that the ingredients are not natural and are actually synthetic requires a
23
     scientific investigation and knowledge of chemistry beyond that of the average consumer. That is
24
25 why, even though all of the ingredients listed above are identified on the back of the Products’
26 packaging in the ingredients listed, the reasonable consumer would not understand – nor are they
27 expected to understand - that these ingredients are synthetic.
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                               34
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 1           45.    Moreover, the reasonable consumer is not expected or required to scour the
 2 ingredients list on the back of the Products in order to confirm or debunk Defendant’s prominent
 3
     claims, representations, and warranties that the Products are “natural” and contain “Active
 4
     Ingredients Derived from Natural Sources”
 5
             46.    Defendants did not disclose that any of the ingredients listed above are unnatural
 6
 7 and/or synthetic ingredients. A reasonable consumer understands Defendant’s “Active Ingredients
 8 Derived from Natural Sources” claim to mean that the Products are “Derived from Natural
 9 Sources,” and do not contain unnatural and/or synthetic ingredients.
10           47.    Defendant’s representations that the Products are “natural” and contain “Active
11
     Ingredients Derived from Natural Sources” induced consumers, including Plaintiffs and Class
12
     Members, to pay a premium to purchase the Products. Plaintiffs and Class Members relied on
13
     Defendants’ false and misleading misrepresentations in purchasing the Products at some premium
14
15 price above comparable alternatives that are not represented to be “natural” and contain “Active
16 Ingredients Derived from Natural Sources.” If not for Defendant’s misrepresentations, Plaintiffs
17 and Class Members would not have been willing to purchase the Products at a premium price.
18 Accordingly, they have suffered an injury as a result of Defendant’s misrepresentations.
19
           48.   Defendant knew that consumers will pay more for a product labeled “natural” and
20
   “derived from natural sources,” and intended to deceive Plaintiffs and putative class members by
21
   labeling the William Sonoma Products as purportedly natural products.
22
23           49.    Defendant has profited enormously from their false and misleading representations

24 that Williams Sonoma Products are “natural” and contain “Active Ingredients Derived from
25 Natural Sources.” The purpose of this action is to require Williams Sonoma to undertake a
26
     corrective advertising campaign and to provide consumers with monetary relief for Williams
27
     Sonoma deceptive and misleading product claims.
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                              35
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 1                            CLASS REPRESENTATION ALLEGATIONS
 2           50.    Plaintiffs seek to represent a class defined as all persons in the United States who
 3 purchased the Williams Sonoma Products (the “Class”). Excluded from the Class are Defendant,
 4
     its affiliates, employees, officers and directors, persons or entities that purchases the Products for
 5
     resale, and the Judge(s) assigned to this case.
 6
             51.    Plaintiffs Kutza and Urmil also seek to represent a Subclass of all Class Member
 7
 8 who purchased the Williams Sonoma Products in California during the class period (the
 9 “California Subclass”). Excluded from the California Subclass are Defendant, its affiliates,
10 employees, officers and directors, persons or entities that purchases the Products for resale, and
11
     the Judge(s) assigned to this case.
12
             52.    At this time, Plaintiffs do not know the exact number of members of the
13
     aforementioned Class and Sublclass (“Class Members” and “Subclass Members,” respectively);
14
     however, given the nature of the claims and the number of Williams Sonoma retail stores in the
15
16 United States that sell the Products as well as sales through direct to consumer channels such as
17 catalogs and e-commerce, Plaintiffs believe that Class and Subclass members are so numerous that
18 joinder of all members is impracticable.
19
             53.    There is a well-defined community of interest in the questions of law and fact
20
     involved in this case. Questions of law and fact common to the members of the putative classes
21
     that predominate over questions that may affect individual Class members include, but are not
22
23 limited to the following:
24                  (a)     whether Defendant misrepresented and/or failed to disclose material facts

25           concerning the Products;
26                  (b)     whether Defendant’s conduct was unfair and/or deceptive;
27
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                 36
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 1                  (c)     whether Defendant has been unjustly enriched as a result of the unlawful,
 2           fraudulent, and unfair conduct alleged in this First Amended Complaint such that it would
 3
             be inequitable for Defendant to retain the benefits conferred upon them by Plaintiffs and
 4
             the classes;
 5
                    (d)     whether Plaintiffs and the classes have sustained damages with respect to
 6
 7           the common law claims asserted, and if so, the proper measure of their damages.

 8           54.    With respect to the California Subclass, additional questions of law and fact

 9 common to the members that predominate over questions that may affect individual members
10 include whether Defendant violated the California Consumer Legal Remedies Act, as well as
11
     California’s False Advertising Law and Unfair Competition Law.
12
             55.    Plaintiffs’ claims are typical of those of the Class and respective Subclasses
13
     because Plaintiffs, like all members of the Class and Sublcasses purchased, in a typical consumer
14
15 setting, Defendant’s Products bearing the natural representations and other representations, and
16 Plaintiffs sustained damages from Defendant’s wrongful conduct.
17           56.    Plaintiffs will fairly and adequately protect the interests of the Class and Subclass
18 and have retained counsel that is experienced in litigating complex class actions. Plaintiffs have
19
   no interests which conflict with those of the classes.
20
           57.    A class action is superior to other available methods for the fair and efficient
21
   adjudication of this controversy.
22
23           58.    The prerequisites to maintaining a class action for equitable relief are met as

24 Defendant has acted or refused to act on grounds generally applicable to the Class and Subclass,
25 thereby making appropriate equitable relief with respect to the classes as a whole.
26
             59.    The prosecution of separate actions by members of the the Class and Sublcass
27
     would create a risk of establishing inconsistent rulings and/or incompatible standards of conduct
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                                37
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 1 for Defendant. For example, one court might enjoin Defendant from performing the challenged
 2 acts, whereas another might not. Additionally, individual actions could be dispositive of the
 3
     interest of the classes even where certain Class or Subclass members are not parties to such
 4
     actions.
 5
                                                 COUNT I
 6
                        (Violation of California’s Consumer Legal Remedies Act)
 7
 8           60.    Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged

 9 above.
10           61.    Plaintiffs Kutza and Urmil bring this cause of action on behalf of themselves and
11 members of the California Subclass against Defendant.

12
             62.    This cause of action is brought pursuant to California’s Consumers Legal Remedies
13
     Act, Cal. Civ. Code §§ 1750-1785 (the “CLRA”).
14
             63.    Plaintiffs Kutza and Urmil and the other members of the California Subclass are
15
16 “consumers,” as the term is defined by California Civil Code § 1761(d), because they bought the
17 Williams Sonoma Products for personal, family, or household purposes.
18           64.    Plaintiffs Kutza and Urmil, the other members of the California Subclass, and
19 Defendant have engaged in “transactions,” as that term is defined by California Civil Code §
20
   1761(e).
21
          65.     The conduct alleged in this Complaint constitutes unfair methods of competition
22
   and unfair and deceptive acts and practices for the purpose of the CLRA, and the conduct was
23
24 undertaken by Defendant in transactions intended to result in, and which did result in, the sale of
25 goods to consumers.
26           66.    As alleged more fully above, Defendant has violated the CLRA by falsely
27
     representing to Plaintiffs Kutza and Urmil and the other members of the California Subclass that
28
     __

     FIRST AMENDED CLASS ACTION COMPAINT                                                              38
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 1 the Products are “natural” and contain “Active Ingredients Derived from Natural Sources,” when
 2 in fact they are made with unnatural and/or synthetic ingredients.
 3
              67.   As a result of engaging in such conduct, Defendant has violated California Civil
 4
     Code § 1770(a)(5), (a)(7) and (a)(9).
 5
              68.   CLRA § 1782 NOTICE. On February 15, 2018, a CLRA demand letter was sent to
 6
 7 Defendant via certified mail that provided notice of Defendant’s violation of the CLRA and
 8 demanded that within thirty (30) days from that date, Defendant correct, repair, replace or other
 9 rectify the unlawful, unfair, false and/or deceptive practices complained of herein. The letter also
10 stated that if Defendant refused to do so, a complaint seeking damages in accordance with the
11
     CLRA would be filed. Defendant received the letter on February 20, 2018. On September 4,
12
     2018, an additional CLRA demand letter was sent on behalf of Plaintiff Urmil to Defendant via
13
     certified mail that provided notice of Defendant’s violation of the CLRA and demanded that
14
15 within thirty (30) days from that date, Defendant correct, repair, replace or other rectify the
16 unlawful, unfair, false and/or deceptive practices complained of herein. The letter also stated that
17 if Defendant refused to do so, a complaint seeking damages in accordance with the CLRA would
18 be filed. Defendant received the letter September 10, 2018. Defendant has failed to comply with
19
   these letters. Accordingly, pursuant to California Civil Code § 1780(a)(3), Plaintiffs Kutza and
20
   Urmil, on behalf of themselves and all other members of the California Subclass, seek injunctive
21
   relief, compensatory damages, punitive damages, and restitution of any ill-gotten gains due to
22
23 Defendant’s acts and practices.
24                                               COUNT II
25                          (Violation of California’s False Advertising Law)
26            69.   Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged
27
     above.
28
     __

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 1           70.   Plaintiffs Kutza and Urmil bring this cause of action on behalf of themselves and
 2 members of the California Subclass.
 3
             71.   California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et
 4
     seq., makes it “unlawful for any person to make or disseminate or cause to be made or
 5
     disseminated before the public in this state, … in an advertising device … or in any other manner
 6
 7 or means whatever, including over the Internet, any statement, concerning … personal property or
 8 services, professional or otherwise, or performance or disposition thereof, which is untrue or
 9 misleading and which is known, or which by the exercise of reasonable care should be known, to
10 be untrue or misleading.”
11
             72.   Defendant committed acts of false advertising, as defined by §§ 17500, et seq., by
12
     falsely claiming that the Products are “natural” and “derived from natural sources” when they are
13
     not.
14
15           73.   Defendant knew or should have known through the exercise of reasonable care that

16 their representations about the Products were untrue and misleading.
17           74.   Defendant’s actions in violation of §§ 17500, et seq. were false and misleading
18 such that the general public is and was likely to be deceived. Plaintiffs Kutza and Urmil and the
19
   California Subclass have suffered injury in fact and have lost money or property as a result of
20
   Defendant’s FAL violations because: (a) they would not have purchased the Products on the same
21
   terms if they knew that the products were made with unnatural and synthetic ingredients; (b) they
22
23 paid a substantial price premium compared to other skin care, hygiene and household products due
24 to Defendant’s misrepresentations; and (c) the products do not have the characteristics, uses, or
25 benefits as promised.
26
27
28
     __

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 1                                                  COUNT III
 2                             (Violation of California’s Unfair Competition Law)
 3            75.   Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged
 4
     above.
 5
              76.   Plaintiffs Kutza and Urmil bring this cause of action on behalf of themselves and
 6
     members of the proposed California Subclass.
 7
 8            77.   By committing the acts and practices alleged herein, Defendant has violated

 9 California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210, as to the
10 California Subclass, by engaging in unlawful, fraudulent, and unfair conduct.
11            78.   Defendant has violated the UCL’s proscription against engaging in unlawful
12
     conduct as a result of:
13
                    (a)        its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), (a)(7), and (a)(9),
14
                               as alleged above; and
15
                    (b)        its violations of the FAL, Cal. Bus. & Prof. Code § 17500 et seq. as
16
                               alleged above.
17
              79.   Defendants’ acts and practices described above also violate the UCL’s proscription
18
19 against engaging in fraudulent conduct.
20            80.   As more fully described above, Defendant’s misleading marketing, advertising,

21 packaging, and labeling of the Products is likely to deceive reasonable consumers. Indeed,
22 Plaintiffs Kutza and Urmil and the other members of the California Subclass were unquestionably
23
     deceived regarding the nature of the Products, as Defendant’s marketing, advertising, packaging,
24
     and labeling of the Products misrepresents and/or omits the true facts concerning the
25
     characteristics of the Products. Said acts are fraudulent business practices.
26
27            81.   Defendant’s acts and practices described above also violate the UCL’s proscription

28 against engaging in unfair conduct.
   __

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 1           82.   Plaintiffs Kutza and Urmil and the other California Subclass members suffered a
 2 substantial injury by virtue of buying the Products that they would not have purchased absent
 3
     Defendant’s unlawful, fraudulent, and unfair marketing, advertising, packaging, and labeling or by
 4
     virtue of paying a premium price for the unlawfully, fraudulently, and unfairly marketed,
 5
     advertised, packaged, and labeled Williams Sonoma Products.
 6
 7           83.   There is no benefit to consumers or competition from deceptively marketing and

 8 labeling the Products, which purport to be “natural” and contain “Active Ingredients Derived from
 9 Natural Sources,” when these unqualified claims are false.
10           84.   Plaintiffs Kutza and Urmil and the other California Subclass members had no way
11
     of reasonably knowing that the Products they purchased were not as marketed, advertised,
12
     packaged, or labeled. Thus, they could not have reasonably avoided the injury each of them
13
     suffered.
14
15           85.   The gravity of the consequences of Defendant’s conduct as described above

16 outweighs any justification, motive, or reason therefore, particularly considering the available
17 legal alternatives which exist in the marketplace, and such conduct is immoral, unethical,
18 unscrupulous, offends established public policy, or is substantially injurious to Plaintiffs Kutza
19
   and Urmil and the other members of the California Subclass.
20
          86.    Defendant’s violations of the UCL continue to this day.
21
          87.    Pursuant to California Business and Professional Code § 17203, Plaintiffs Kutza
22
23 and Urmil and the California Subclass seek an order of this Court that includes, but is not limited
24 to, an order requiring Defendants to:
25                 (a)     provide restitution to Plaintiffs Kutza and Urmil and the other California
26                         Subclass members;
27                 (b)     disgorge all revenues obtained as a result of violations of the UCL; and
28                 (c)     pay Plaintiffs’ and the California Subclass attorneys’ fees and costs.
     __

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 1                                              COUNT IV
 2                                         (Unjust Enrichment)
 3            88.   Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged
 4
     above.
 5
              89.   Plaintiffs bring this claim individually and on behalf of the members of the
 6
     proposed Class and California Subclass against Defendant.
 7
 8            90.   Plaintiffs and Class members conferred benefits on Defendant by purchasing the

 9 Williams Sonoma Products.
10            91.   Defendant has been unjustly enriched in retaining the revenues derived from
11 Plaintiffs and Class members’ purchases of the Williams Sonoma Products. Retention of those

12
     moneys under these circumstances is unjust and inequitable because Defendant misrepresented
13
     that the Williams Sonoma Products were “natural” and contain “Active Ingredients Derived from
14
     Natural Sources.” These misrepresentations caused injuries to Plaintiffs and Class members
15
16 because they would not have purchased the Williams Sonoma Products if the true facts were
17 known.
18            92.   Because Defendant’s retention of the non-gratuitous benefits conferred on them by
19 Plaintiffs and Class members is unjust and inequitable, Defendant must pay restitution to Plaintiffs
20
   and Class members for its unjust enrichment, as ordered by the Court.
21
                                                 COUNT V
22
                                      (Negligent Misrepresentation)
23
           93.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged
24
25 above.
26            94.   Plaintiffs brings this claim individually and on behalf of the members of the
27 proposed Class and California Subclass against Defendant.
28
     __

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 1            95.    As discussed above, Defendant misrepresented that the Williams Sonoma Products
 2 were “natural” and contain “Active Ingredients Derived from Natural Sources.”
 3
              96.    At the time Defendant made these representations, Defendant knew or should have
 4
     known that these representations were false or made them without knowledge of their truth or
 5
     veracity.
 6
 7            97.    At an absolute minimum, Defendant negligently misrepresented and/or negligently

 8 omitted material facts about the Williams Sonoma Products.
 9            98.    The negligent misrepresentations and omissions made by Defendant, upon which
10 Plaintiffs and Class members reasonably and justifiably relied, were intended to induce and
11
     actually induced Plaintiffs and Class members to purchase the Williams Sonoma Products.
12
              99.    Plaintiffs and Class members would not have purchased the Williams Sonoma
13
     Products if the true facts had been known.
14
15            100.   The negligent actions of Defendant caused damage to Plaintiffs and Class

16 members, who are entitled to damages and other legal and equitable relief as a result.
17                                                COUNT VI
18                                                  (Fraud)
19            101.   Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged
20
     above.
21
              102.   Plaintiffs bring this claim individually and on behalf of the members of the
22
     proposed Class and California Subclass against Defendant.
23
24            103.   As discussed above, Defendant provided Plaintiffs and Class members with false or

25 misleading material information about the Products and failed to disclose material facts about the
26 Products, including but not limited to the fact that the Products contain unnatural and/or synthetic
27
     ingredients.
28
     __

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 1           104.   The misrepresentations and omissions made by Defendant, upon which Plaintiffs
 2 and Class members reasonably and justifiably relied, were intended to induce and actually induced
 3
     Plaintiffs and Class members to purchase the Products.
 4
             105.   The fraudulent actions of Defendant caused damage to Plaintiffs and Class
 5
     members, who are entitled to damages and other legal and equitable relief as a result.
 6
 7                                        PRAYER FOR RELIEF

 8           WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

 9 judgment against Defendant, as follows:
10           a.     For an order certifying the nationwide Class and the California Subclass under Rule
11
                    23 of the Federal Rules of Civil Procedure; naming Plaintiffs as Class and
12
                    California Subclass representatives; and naming Plaintiffs’ attorneys as Class
13
                    Counsel to represent the Class and California Subclass members;
14
             b.     For an order declaring the Defendant’s conduct violates the statutes referenced
15
16                  herein;

17           c.     For an order finding in favor of Plaintiff, the nationwide Class, and the California
18                  Subclass on all counts asserted herein;
19
             d.     For an order awarding compensatory, statutory, treble, and punitive damages in
20
                    amounts to be determined by the Court and/or jury;
21
             e.     For prejudgment interest on all amounts awarded;
22
23           f.     For an order of restitution and all other forms of equitable monetary relief;

24           g.     For an order requiring Defendant to undertake a corrective advertising campaign;

25           h.     For injunctive relief as pleaded or as the Court may deem proper; and
26           i.     For an order awarding Plaintiffs and the Class and California Subclass their
27
                    reasonable attorneys’ fees and expenses and costs of suit.
28
     __

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 1                                              JURY DEMAND
 2           Plaintiffs demand a trial by jury of all issues so triable.
 3
     Dated: November 29, 2018                Respectfully submitted,
 4
                                             ORLOWSKY LAW, LLC
 5
 6
                                             By       /s/ Daniel J. Orlowsky
 7                                                    Daniel J. Orlowsky
 8
                                                   Daniel J. Orlowsky (Pro Hac Vice)
 9                                                 7777 Bonhomme Ave., Suite 1910
                                                   St. Louis, MO 63105
10                                                 Phone: 314-725-5151
                                                   Fax: 314-455-7375
11                                                 dan@orlowskylaw.com
12
                                                   Adam M. Goffstein (Pro Hac Vice)
13                                                 GOFFSTEIN LAW, LLC
                                                   7777 Bonhomme, Suite 1910
14                                                 St. Louis, Missouri 63105
                                                   Phone: (314) 725-5151
15                                                 Fax: (314) 455-7278
                                                   adam@goffsteinlaw.com
16
                                                   Co-Interim Class Counsel
17
                                                   James A. Morris, Esq. (CSBN 296852)
18                                                 Shane A. Greenberg, Esq. (CSMN 210932)
                                                   MORRIS LAW FIRM
19                                                 4111 W. Alameda Avenue, Suite 611
                                                   Burbank, CA 91505
20                                                 Tel: (747) 283-1144
                                                   Fax: (747) 283-1143
21                                                 jmorris@jamlawyers.com
                                                   jreenberg@jamlawyers.com
22
23                                                 Attorneys for Plaintiff

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25
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27
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2           I, Daniel J. Orlowsky, declare as follows:
 3           1.     I am counsel for Plaintiffs, and I am the owner of Orlowsky Law, LLC. I make this
 4
     declaration to the best of my knowledge, information, and belief of the facts stated herein.
 5
             2.     The complaint filed in this action is filed in the proper place for trial because the
 6
     Defendant is headquartered in this District and the misrepresentation at issue emanated from this
 7
 8 District. Furthermore, Plaintiffs Kutza and Urmil allege that they made several purchases of
 9 Defendant’s Williams Sonoma Products from various stores within this State.
10           I declare under the penalty of perjury under the laws of the State of California that the
11
     foregoing is true and correct, executed on November 29, 2018 at St. Louis, Missouri.
12
13
14
                                                   _      /s/ Daniel J. Orlowsky____________
15
                                                          Daniel J. Orlowsky
16
17
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